          4:13-bk-12806 Doc#: 7 Filed: 05/15/13 Entered: 05/15/13 10:11:32 Page 1 of 3
B9I (Official Form 9I) (Chapter 13 Case) (12/12)                                                                Case Number 4:13−bk−12806
UNITED STATES BANKRUPTCY COURT Eastern District of Arkansas

                                              Notice of
                     Chapter 13 Bankruptcy Case, Meeting of Creditors, & Deadlines
      The debtor(s) listed below filed a chapter 13 bankruptcy case on 5/14/13.

You may be a creditor of the debtor. This notice lists important deadlines. You may want to consult an attorney to protect your rights.
All documents filed in the case may be inspected at the bankruptcy clerk's office at the address listed below. NOTE: The staff of the
bankruptcy clerk's office cannot give legal advice.
        Creditors −− Do not file this notice in connection with any proof of claim you submit to the court.
                                    See Reverse Side For Important Explanations
Debtor(s) (name(s) used by the debtor(s) in the last 8 years, including married, maiden, trade, and address):
Patricia Walker
aka Patricia Swinton
14200 Wimbledon Loop
Little Rock, AR 72210
Case Number:                                                            Social Security / Individual Taxpayer ID / Employer Tax ID / Other
4:13−bk−12806                                                           nos:
Judge: James G. Mixon                                                   xxx−xx−2839
Attorney for Debtor(s) (name and address):                              Bankruptcy Trustee (name and address):
Everett O. Martindale                                                   Mark T. McCarty
Attorney at Law                                                         Chapter 13 Standing Trustee
902 W. Second St.                                                       P.O. Box 5006
Little Rock, AR 72201−2102                                              N. Little Rock, AR 72119−5006
Telephone number: (501) 372−7600                                        Telephone number: 501−374−1572

                                                       Meeting of Creditors
   Important notice: Individual debtors must provide picture identification and proof of social security number to trustee at this meeting.
Date: 6/24/13                                                         Time: 10:00 AM
Location: U.S. Trustee's Office, Bank of America Building, 200 W. Capitol, 12th Floor − Rm 1210, Little Rock, AR 72201

                                                               Deadlines:
                            Papers must be received by the bankruptcy clerk's office by the following deadlines:

                                                 Deadline to File a Proof of Claim:
       For all creditors (except a governmental unit): 9/23/13          Government claims are due no later than 180 days after
                                                                        the date of the order for relief.

                                                  Creditor with a Foreign Address:
         A creditor to whom this notice is sent at a foreign address should read the information under "Claims" on the reverse side.
                 Deadline to Object to Debtor's Discharge or to Challenge Dischargeability of Certain Debts: 8/23/13
                                                 Deadline to Object to Exemptions:
                                       Thirty (30) days after the conclusion of the meeting of creditors.

                                  Filing of Plan, Hearing on Confirmation of Plan
Objections to confirmation must be filed with the Court and served on the Trustee and Debtor on or before the fourteenth (14th) day after
the meeting of creditors is concluded. If no objection is timely filed, the plan will be confirmed pursuant to Federal Rule of Bankruptcy
Procedure 3015. If objections are timely filed, a hearing on confirmation will be set by subsequent notice.

                                                           Chapter 13 Plan
A copy of the Chapter 13 Plan may be viewed on the U.S. Bankruptcy Court's ECF system at: www.arb.uscourts.gov or you may contact
your attorney for additional information.

                                       Creditors May Not Take Certain Actions:
In most instances, the filing of the bankruptcy case automatically stays certain collection and other actions against the debtor, the debtor's
property, and certain codebtors. Under certain circumstances, the stay may be limited to 30 days or not exist at all, although the debtor can
request the court to extend or impose a stay. If you attempt to collect a debt or take other action in violation of the Bankruptcy Code, you
may be penalized. Consult a lawyer to determine your rights in this case.
Address of the Bankruptcy Clerk's Office:                                                        For the Court:
U.S. Bankruptcy Court                                                   Clerk of the Bankruptcy Court:
300 W. 2nd Street                                                       Jean Rolfs
Little Rock, AR 72201
Telephone: 501−918−5500
        4:13-bk-12806 Doc#: 7 Filed: 05/15/13 Entered: 05/15/13 10:11:32 Page 2 of 3
Hours Open: Monday − Friday 8:00 AM − 5:00 PM   Date: 5/15/13
         4:13-bk-12806 Doc#: 7 Filed: 05/15/13 Entered: 05/15/13 10:11:32 Page 3 of 3


                                                         EXPLANATIONS                                            B9I (Official Form 9I) (12/12)
Filing of Chapter 13    A bankruptcy case under Chapter 13 of the Bankruptcy Code (title 11, United States Code) has been filed in this
Bankruptcy Case         court by the debtor(s) listed on the front side, and an order for relief has been entered. Chapter 13 allows an
                        individual with regular income and debts below a specified amount to adjust debts pursuant to a plan. A plan is not
                        effective unless confirmed by the bankruptcy court. You may object to confirmation of the plan and appear at the
                        confirmation hearing. A copy or summary of the plan, if not enclosed, will be sent to you later, and if the
                        confirmation hearing is not indicated on the front of this notice, you will be sent notice of the confirmation hearing.
                        The debtor will remain in possession of the debtor's property and may continue to operate the debtor's business, if
                        any, unless the court orders otherwise.
Legal Advice            The staff of the bankruptcy clerk's office cannot give legal advice. Consult a lawyer to determine your rights in this
                        case.
Creditors Generally  Prohibited collection actions against the debtor and certain codebtors are listed in Bankruptcy Code § 362 and §
May Not Take Certain 1301. Common examples of prohibited actions include contacting the debtor by telephone, mail or otherwise to
Actions              demand repayment; taking actions to collect money or obtain property from the debtor; repossessing the debtor's
                     property; starting or continuing lawsuits or foreclosures; and garnishing or deducting from the debtor's wages. Under
                     certain circumstances, the stay may be limited to 30 days or not exist at all, although the debtor can request the court
                     to extend or impose a stay.
Meeting of Creditors    A meeting of creditors is scheduled for the date, time and location listed on the front side. The debtor (both spouses
                        in a joint case) must be present at the meeting to be questioned under oath by the trustee and by creditors. Creditors
                        are welcome to attend, but are not required to do so. The meeting may be continued and concluded at a later date
                        specified in a notice filed with the court.
Claims                  A Proof of Claim is a signed statement describing a creditor's claim. A Proof of Claim form ("Official Form B 10")
                        can be obtained at the United States Courts website:
                        (http://www.uscourts.gov/FormsAndFees/Forms/BankruptcyForms.aspx) or at any bankruptcy clerk's office. A
                        secured creditor retains rights in its collateral regardless of whether that creditor files a Proof of Claim. If you do not
                        file a Proof of Claim by the "Deadline to File a Proof of Claim" listed on the front side, you might not be paid any
                        money on your claim from other assets in the bankruptcy case. To be paid, you must file a Proof of Claim even if
                        your claim is listed in the schedules filed by the debtor. Filing a Proof of Claim submits the creditor to the
                        jurisdiction of the bankruptcy court, with consequences a lawyer can explain. For example, a secured creditor who
                        files a Proof of Claim may surrender important nonmonetary rights, including the right to a jury trial. Filing
                        Deadline for a Creditor with a Foreign Address: The deadlines for filing claims set forth on the front of this
                        notice apply to all creditors. If this notice has been mailed to a creditor at a foreign address, the creditor may file a
                        motion requesting the court to extend the deadline.
                        Do not include this notice with any filing you make with the court.
Discharge of Debts      The debtor is seeking a discharge of most debts, which may include your debt. A discharge means that you may
                        never try to collect the debt from the debtor. If you believe that the debtor is not entitled to a discharge under
                        Bankruptcy Code § 1328(f), you must file a motion objecting to discharge in the bankruptcy clerk's office by the
                        "Deadline to Object to Debtor's Discharge or to Challenge the Dischargeability of Certain Debts" listed on the front
                        of this form. If you believe that a debt owed to you is not dischargeable under Bankruptcy Code § 523 (a)(2) or (4),
                        you must file a complaint in the bankruptcy clerk's office by the same deadline. The bankruptcy clerk's office must
                        receive the motion or the complaint and any required filing fee by that deadline.
Exempt Property         The debtor is permitted by law to keep certain property as exempt. Exempt property will not be sold and distributed
                        to creditors, even if the debtor's case is converted to chapter 7. The debtor must file a list of all property claimed as
                        exempt. You may inspect that list at the bankruptcy clerk's office. If you believe that an exemption claimed by the
                        debtor is not authorized by law, you may file an objection to that exemption. The bankruptcy clerk's office must
                        receive the objection by the "Deadline to Object to Exemptions" listed on the front side.
Bankruptcy Clerk's      Any documents that you file in this bankruptcy case should be filed using the court's Electronic Case Filing (ECF)
Office                  system or at the bankruptcy clerk's office at the Bankruptcy Court address listed on the front side. You may inspect
                        all documents filed, including the list of the debtor's property and debts and the list of the property claimed as
                        exempt, on the court's ECF system or at the bankruptcy clerk's office.
Creditor with a         Consult a lawyer familiar with United States bankruptcy law if you have any questions regarding your rights in this
Foreign Address         case.
                             Refer to Other Side for Important Deadlines and Notices
